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                            UNITED STATES DISTRICT COURT g:                            JAN 0 3 2013
                              EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION                              Clerk, U.S. District Court
                                                                                        Texas Eastern
                                                )
DAVID E. MACK )
    Plaintiff. )
                                       ) Case4:18cv00006
                                                No
vs                                    )
                                                )
EXPERIAN INFORMATION )
SOLUTIONS, INC.; TRANS UNION )
                     Mazzant
LUC; EQUIFAX, INC. ) Judge
     Defendants )
                                                )
                                                ) TRIAL BY JURY DEMANDED
                                                )

              ORIGINAL COMPLAINT FOR VIOLATIONS OF THE FCRA



                                         JURISDICTION

1. This court has jurisdiction under 15 U.S.C. § 1681p and 28 U.S.C § 1331.

2. All conditions precedent to the bringing of this action have been performed.

                                              PARTIES

3. The Plaintiff in this lawsuit is David E. Mack, a natural person, who resides in Collin

   County, Texas.


4. Defendant Experian Information Solutions, Inc. (Experian) is a Consumer Reporting Agency

   with coi orate offices at 475 Anton Blvd., Costa Mesa, CA 92626.

5. Defendant Equifax, Inc. (Equifax) is a Consumer Reporting Agency with corporate offices at

   1550 Peachtree Street, Atlanta, GA 30309.

6. Defendant Trans Union, EEC (Trans Union) is a Consumer Reporting Agency with corporate

   offices at 555 W. Adams Street Chicago, IE 60661.



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                                                 VENUE

7. The occurrences w ic give rise to this action occurred in Collin County, Texas an Plaintiff

   resides in Collin County, Texas.

8. Venue is proper in the Eastern District of Texas.

                                      GENERAL ALLEGATIONS

9. Plaintiff made a written request sent by certified mail for a copy of his full consumer file

   disclosure which was received by Experian on September 21, 2017. See Exhibit 1 attached.

10. In response to his very specific request for his full consumer file disclosure Plaintiff

   received a copy of his Experian Credit Report which was not responsive to his request.


11. Plaintiff made a written request sent by certified mail for a copy of his full consumer file

    disclosure which was received by Equifax on September 21, 2017 See Exhibit 1 attached.

12. In response to his very specific request for his full consumer file disclosure Plaintiff received

    a letter from Equifax Information Services EEC which stated in part that he was not eligible

    for a free copy of his credit file. The letter was not responsive to his request for a full

    consumer file disclosure and he was told he would have to pay $11.50 to receive a copy of a

   disclosu e. See Exhibit 3 attached.

13. Plaintiff made a written request sent by certified mail for a copy of his full consumer file

    disclosure which was received by Trans Union on September 22, 2017 See Exhibit 1

   attached..

14. In response to his very specific request for his full consumer file disclosure Plaintiff

   received a copy of his Trans Union Credit Report which was not responsive to his request.

15. Plaintiff, in making the exact same request of each of the Defendants, specified in great detail

   exactly what specific sections of the Fair Credit Reporting Act (FCRA) requires each




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   Defendant to provide a full consumer file disclosure at least once per year at no charge

   when a request is made by a consumer. See Exhibit 1 attached.

16. Plaintiffs request for a full consumer file disclosure from each Defendant was the first

   request for a disclosure within 12 months and identification in the form of a copy of his

   social security card and current state driver s license was attached to the request for

   identif cation.

17. After receiving a response from each Defendant that did not comply with the request made,

   Plaintiff made a second and final request for a full consumer file disclosure pursuant to the

   FCRA of each Defendant. See E hibit 2 attached. A copy of the initial letter was sent with

   the second request for clarification along with identification in the form of a copy of

   Plaintiffs social security card and driver s license for identification.

18. At no time did Plaintiff make any request for a credit report from the Defendants but instead

   was very specific in requesting a full consumer file disclosure pursuant to 15 U.S.C. §


   1681g(a)(l) as outlined in the initial request.

19. In response to Plaintiffs second request for a full consumer file disclosure to Experian he

   received another copy of his Experian credit report which was not responsive to his request

   as required by 15 U.S.C. § 1681g(a)(l).

20. In response to Plaintiffs second request for a full consumer file disclosure to Equifax he

   received a copy of his credit report which was not responsive to his request as required by 15

   U.S.C. § 1681g(a)(l).

21. In response to Plaintiffs second request for a full consumer file disclosure to Trans Union

   he received another copy of his Trans Union credit report which was not responsive to his

   request as required by 15 U.S.C. § 1681g(a)(l).




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22. Upon information and belief there is substantial information relating to the Plaintiff that is

    contained in all Defendants files that has not been disclosed to him including, but not limited

   to, information that was previously shown in his credit reports that is now archived and

   additional information never seen by him that is provided to prospective creditors, insurers or

   employers who request information on Plaintiff.

23. Upon information and belief the information that is not disclosed to Plaintiff contains

   negative codes among other things that are provided to prospective creditors, insurers or

   employers which directly affect how that prospective creditor, insurer or employer would

   view the Plaintiff in terms of granting credit or providing employment and unfairly and

   illegally subject him to higher interest rates on loans or to higher premiums for insurance or

   both as well as affect any decision relating to employment in a negative manner.

24. This undisclosed information has never been provided to the Plaintiff even when it was

   requested so he could examine it for accuracy. It could be blatantly false or at the least

   misleading and without disclosure by the Defendants he would not have the opportunity to

   dispute the accuracy or veracity of it which he is legally entitled to do. Disclosure of false or

   misleading information to prospective creditors, insurers or employers that Plaintiff knows

   nothing about could paint him in a false light where he could be denied credit or employment

   or pay higher interest rates on credit if it was granted hanning him substantially.

25. Upon information and belief Defendants have far more information relating to Plaintiff in

   their files and databases including archived information that Plaintiff has never had access to

   or had the opportunity to review for accuracy. This information has been properly requested

   by Plaintiff multiple times and is required to be disclosed under 15 U.S.C. § 1681g(a)(l)




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   when a proper request is made by a consumer. The Defendants have repeatedly refused to

   provide Plaintiff with his full consumer file disclosure after multiple requests.

26. Because Plaintiff has not had access to that undisclosed information he has therefore had no

   opportunity to review it and dispute the accuracy of it if it is found to be false yet it is

   provided to potential creditors, insurers and employers without his knowledge and purposely

   and illegally concealed from him.

27. Upon information and belief when a report is provided by the Defendants to a potential

   creditor, insurer or employer that information is provided in an encrypted format with

   instructions to the user that the consumer is NOT to be shown that information. There is no

   prohibition that information obtained by a user can be provided to the consumer if a request

   for it is made yet instructions to the user from the Defendants are to the contrary.

28. One can only surmise that there must be some nefarious reason why that information should

   not be provided to the consumer that is sent to the user in an encrypted format with

    instructions to the user to conceal it from the consumer. It obviously must contain

    information that the consumer has never seen and the consumer reporting agencies don t

    want him or her to see for some unknown reason. This is obviously not in concert with the

    mandate of full disclosure clearly articulated in the FCRA in unambiguous plain language.

29. Plaintiff made multiple specific requests of each of the Defendants for a full consumer file

    disclosure as clearly stated in 15 U.S.C. § 1681g(a)(l) and all Defendants have failed to

    comply with the requests and are therefore in violation of the FCRA.


30. The actions of all Defendants occurred within the past 2 years and are within the Statute of

    Limitations under the FCRA.




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                                               COUNT I

 VIOLATION OF THE FAIR CREDIT REPORTING ACT. 15 U.S.C. §1681, WILLFUL
  NON-COMPLIANCE BY DEFENDANT EXPERIAN INFORMATION SOLUTIONS
                                                   INC.



31. Paragraphs 1 through 30 are re-alleged as though fully set forth herein.

32. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681a(c).

33. Experian is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §

    1681a(f).

34. Experian repeatedly failed to comply with Plaintiffs multiple requests for a full consumer

    file disclosure pursuant to 15 U.S.C. § 1681g(a)(l).

         WHEREFORE, Plaintiff demands judgment for damages against Experian for statutory

   damages of $1000.00, any attorney s fees, and all costs pursuant to 15 U.S.C. § 1681n.



                                               COUNT II

         VIOLATION OF THE FAIR CREDIT REPORTING ACT. 15 U.S.C. S168L
          WILLFUL NON-COMPLIANCE BY DEFENDANT TRANS UNION LLC


35. Paragraphs 1 through 30 are re-alleged as though fully set forth herein.

36. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681a(c).

37. Trans Union is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §

    1681a(f).

38. Trans Union repeatedly failed to comply with Plaintiffs multiple requests for a full

   consumer file disclosure pursuant to 15 U.S.C. § 1681g(a)(l).

        WHEREFORE, Plaintiff demands judgment for damages against Trans Union for

   statutory damages of $1000.00, any attorney s fees, and costs pursuant to 15 U.S.C. § 168In.




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                                              COUNT HI

         VIOLATION OF THE FAIR CREDIT REPORTING ACT. 15 U.S.C. S1681,
                WILLFUL NON-COMPLIANCE BY DEFENDANT EQUIFAX, INC.


39. Paragraphs 1 through 30 are re-alleged as though fully set forth herein.

40. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681 a(c).

41. Equifax is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §

    1681a(f).

42. Equifax repeatedly failed to comply with Plaintiffs multiple requests for a full consumer file

   disclosure pursuant to 15 U.S.C. § 1681g(a)(l).

        WHEREFORE, Plaintiff demands judgment for damages against EQUIFAX INC. for

   statutory damages of $1000.00, any attorney s fees, and all costs pursuant to 15 U.S.C. §

   1681n.




                              DEMAND FOR TRIAL BY JURY

    Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.




                                                          Dated: January 3, 2018

                                                          Respectfully Submitted,




                                                         David E. Mack
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                                                         Dallas, Texas 75252
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                                                         mack2001@swbell.net




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